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    EXHIBIT 8
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                                  support@rapidtranslate.org                Member # 274316
                                    (844) 473-7832




                        CERTIFICATION BY TRANSLATOR


I, Aleksei Timashkov, certify that I am competent to translate in the English and Russian
languages and that the above/attached document is a complete and accurate translation of the
above/attached document.


This document has not been translated for a family member, friend, or business associate.




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    Case 1:24-cv-03287-AT       Document 88-8        Filed 11/19/24   Page 4 of 17
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           Открытое акционерное общество
           «Сбербанк России»
           Промежуточная сокращенная
           консолидированная финансовая отчетность и
           отчет по результатам обзорной проверки
           30 сентября 2013 года
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и отчет по результатам обзорной проверки



СОДЕРЖАНИЕ


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ЕУ
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Заключение по результатам обзорной проверки промежуточной сокращенной
консолидированной финансовой отчетности

Акционерам и Наблюдательному Совету ОАО «Сбербанк России»


Введение
Мы провели обзорную проверку прилагаемой промежуточной сокращенной консолидированной финансовой
отчетности ОАО «Сбербанк России» (далее по тексту- «Банк») и его дочерних компаний (совместно именуемых
«Группа») по состоянию на 30 сентября 2013 года, которая включает промежуточный консолидированный отчет о
финансовом положении по состоянию на 30 сентября 2013 года, а также соответствующие промежуточные
консолидированные отчеты о прибылях и убытках и о совокупном доходе за трех- и девятимесячный периоды,
завершившиеся на указанную дату, промежуточные консолидированные отчеты об изменениях в капитале и
движении денежных средств за девятимесячный период, завершившийся на указанную дату, и отдельные
примечания к финансовой отчетности. Руководство Банка несет ответственность за подготовку и представление
данной промежуточной сокращенной консолидированной финансовой отчетности в соответствии с
Международным стандартом финансовой отчетности МСФО (IAS) 34 <�Промежуточная финансовая
отчетность» (МСФО (IAS) 34). Наша обязанность заключается в том, чтобы сделать вывод по данной
промежуточной сокращенной консолидированной финансовой отчетности на основании проведенной нами
обзорной проверки.

Объем работ по обзорной проверке
Мы провели обзорную проверку в соответствии с Международным стандартом, применимым к обзорным
проверкам, 2410 (<�Обзорная проверка промежуточной финансовой информации, проводимая независимым
аудитором организации>�). Обзорная проверка промежуточной финансовой информации включает в себя
проведение опросов персонала, главным образом сотрудников, ответственных за финансовые вопросы и
вопросы бухгалтерского учета, а также выполнение аналитических и иных процедур, связанных с обзорной
проверкой. Объем процедур, выполняемых в ходе обзорной проверки, существенно меньше, чем при проведении
аудита в соответствии с Международными стандартами аудита, что не позволяет нам получить уверенность в
том, что мы обнаружили все существенные факты, которые могли бы быть выявлены в ходе проведения аудита.
Соответственно, мы не выражаем аудиторское мнение.

Вывод
В ходе проведенной нами обзорной проверки мы не обнаружили фактов, которые позволяли бы нам полагать, что
прилагаемая промежуточная сокращенная консолидированная финансовая отчетность не была подготовлена во
всех существенных аспектах в соответствии с МСФО (IAS) 34.




                                 3АО
26 ноября 201 З года




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   Промежуточный консолидированный отчет о финансовом положении

                                                                                30 сентября     31 декабря
                                                                                  2013 года      2012 года
                                                                          (неаудированные
  (в миллиардах российских рублей)                                Прим.             данные)
  АКТИВЫ
  Денежные средства и их эквиваленты                                                1 117,4           1 290,8
  Обязательные резервы на счетах в центральных банках                                 270,3             211,2
  Торговые ценные бумаги                                            5                  79,8              90,4
  Ценные бумаги, изменение справедливой стоимости которых
    отражается через счета прибылей и убытков                       6                  16,3            19,2
  Средства в банках                                                                   435,2           114,8
  Кредиты и авансы клиентам                                        7               11 760,6        10 499,3
  Ценные бумаги, заложенные по договорам репо                      8                  988,2           949,7
  Инвестиционные ценные бумаги, имеющиеся в наличии для
    продажи                                                         9                 761,7            804,5
  Инвестиционные ценные бумаги, удерживаемые до погашения          10                 153,5            105,9
  Отложенный налоговый актив                                                           10,1              7,5
  Основные средства                                                                   448,3            436,0
  Прочие финансовые активы                                         11                 307,2            227,6
  Прочие нефинансовые активы                                       11                 340,8            340,5
   ИТОГО АКТИВОВ                                                                   16689,4         15 097,4

  ОБЯЗАТЕЛЬСТВА
  Средства банков                                                                   1 348,4           1 452,4
  Средства физических лиц                                          12               7 593,1           6 983,2
  Средства корпоративных клиентов                                  12               3 665,3           3 196,1
  Выпущенные долговые ценные бумаги                                13                 825,8             691,7
  Прочие заемные средства                                                             597,7             469,2
  Отложенное налоговое обязательство                                                   27,1              33,2
  Прочие финансовые обязательства                                  14                 339,2             227,7
  Прочие нефинансовые обязательства                                14                  51,5              35,4
  Субординированные займы                                          15                 441,8             384,7
   ИТОГО ОБЯЗАТЕЛЬСТВ                                                              14 889,9        13 473,6

  СОБСТВЕННЫЕ СРЕДСТВА
  Уставный капитал                                                                     87,7             87,7
  Собственные акции, выкупленные у акционеров                                          (6,1)            (7,6)
  Эмиссионный доход                                                                   232,6            232,6
  Фонд переоценки офисной недвижимости                                                 77,0             79,0
  Фонд переоценки инвестиционных ценных бумаг, имеющихся в
    наличии для продажи                                                                 7,2              37,3
  Фонд накопленных курсовых разниц                                                     (8,8 )            (4,7)
  Нераспределенная прибыль                                                          1 400,2           1 186,7
  Итого собственных средств, принадлежащих акционерам Банка                         1 789,8           1611,0
   Неконтрольная доля участия                                                           9,7              12,8
   ИТОГО СОБСТВЕННЫХ СРЕДСТВ                                                        1 799,5           1623,8
   ИТОГО ОБЯЗАТЕЛЬСТВ И СОБСТВЕННЫХ СРЕДСТВ                                        16689,4         15 097,4


  Ущржде,о и nодnисано m им,нн Прам,ан, 26 но,бр, 2013 ,ода
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 ,,,--�
  г.о. Греф                                                     М.Ю. Лукьянова
  Президент, Предсе
С::::.---�--        ель Правлен ия                              И.о. Главного бухliалтера



  Примечания №1-31 составляют неотъемлемую часть данной промежуточной сокращенной консолидированной
  финансовой отчетности.
                                                                                                                1
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Отдельные примечания к промежуточной сокращенной
консолидированной финансовой отчетности - 30 сентября 2013 года

29     Основные дочерние компании

Таблица ниже содержит информацию о дочерних компаниях Банка по состоянию на 30 сентября 2013 года:

                                                                                                 Страна
Наsвание                                        Вид деятельности    Доля собственности      регистрации
Дочерние компании:
                                                      банковская
DenizBank (DenizBank AS)                            деятельность               99,85%            Турция
                                                      банковская
Sberbank Europe AG                                  деятельность              100,00%           Австрия
                                                      банковская                             Республика
ОАО «БПС-Сбербанк»                                  деятельность               97,91%          Беларусь
                                                      банковская
ДБ АО «Сбербанк»                                    деятельность              100,00%         Казахстан
                                                      банковская
АО «Сбербанк России»                                деятельность              100,00%           Украина
                                                      банковская
Сбербанк Швейцария {Sberbank Switzerland AG)        деятельность               99,15%        Швейцария
«Сетелем Банк» ООО (бывший «БНП Париба                банковская
  Восток» ООО)                                      деятельность                74,00%           Россия
ЗАО «Сбербанк Лизинг»                                     лизинг              100,00%            Россия
ООО «Сбербанк Капитал»                         финансовые услуги              100,00%            Россия
Группа компаний «Тройка Диалог»                финансовые услуги              100,00% Каймановы острова
ЗАО «Рублеве-Архангельское»                        строительство              100,00%            Россия
ООО «Сбербанк Инвестиции»                      финансовые услуги              100,00%            Россия
ООО «Аукцион»                                             услуги              100,00%            Россия
ОАО «Красная поляна»                               строительство                50,03%           Россия
                                                                        75,00% минус 1
ООО «ПС Яндекс.Деньги»                         телекоммуникации                  рубль           Россия
ООО «Хрустальные башни»                             строительство               50,01%           Россия


В первом квартале 2013 года была проведена финальная оценка стоимости чистых активов DenizBank AS.
Финальная оценка справедливой стоимости идентифицируемых активов и обязательств DenizBank AS на
дату приобретения существенно не отличается от предварительной оценки.
В апреле 2013 года DenizBank и Ситибанк подписали договор по приобретению Денизбанком
подразделения по банковскому обслуживанию физических лиц Ситибанка в Турции. Сделка была одобрена
турецкими властями в июне 2013 года. На дату одобрения сделки бизнес Ситибанка в Турции по
банковскому обслуживанию физических лиц насчитывал более 600 ООО клиентов, с предварительной
оценкой объема кредитов и авансов клиентам на сумму 1,2 миллиарда турецких лир и предварительной
оценкой объема депозитов в размере 1,6 миллиарда турецких лир. Сделка по приобретению
подразделения по банковскому обслуживанию физических лиц Ситибанка в Турции была завершена в июле
2013 года. Финальная справедливая стоимость активов и обязательств, идентифицируемых при приобретении
компании, и финальная величина деловой репутации на данный момент не определены.




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Отдельные примечания к промежуточной сокращенной
консолидированной финансовой отчетности - 30 сентября 2013 года

29    Основные дочерние компании (продолжение)

Предварительная оценка деловой репутации и предварительная справедливая стоимость активов и
обязательств, идентифицируемых при приобретении, на дату приобретения представлена в таблице ниже:
(неаудированные данные)                                                              Справедливая
(в миллиардах рассийских рублей)                                                        стоимость
Кредиты и авансы клиентам                                                                    19,2
Основные средства                                                                             0,1
Прочие финансовые активы                                                                      0,1

Итого активов                                                                                19,4

Средства физических лиц                                                                     (22,3)
Средства корпоративных клиентов                                                              (0,6)
Прочие финансовые обязательства                                                              (4,1)
Прочие нефинансовые обязательства                                                            (0,1)
Итого обязательств                                                                          (27,1)
Справедливая стоимость чистых активов дочерних компаний                                      (7,7)

Расчет деловой репутации:
Цена приобретения                                                                            (7,1)
Справедливая стоимость чистых активов дочерних компаний                                       7,7
Деловая репутация, полученная при приобретении                                                0,6


Консолидированная чистая прибыль Группы за девять месяцев, закончившихся 30 сентября 2013 года, не
изменилась бы существенно, если бы приобретение произошло 1 января 2013 года.

Группа провела финальную оценку справедливой стоимости активов и обязательств, идентифицируемых
при приобретении ОАО «Красная поляна» и ряда других компаний, основанную на финальных результатах
независимой внешней оценки. Финальная деловая репутация при приобретении компаний на дату
приобретения представлена в таблице ниже:

(неаудированные данные)                                                              Справедливая
(в миллиардах российских рублей)                                                        стоимость
Денежные средства и их эквиваленты                                                            1,5
Средства в банках                                                                             0,6
Кредиты и авансы клиентам                                                                     1,5
Основные средства                                                                             1,3
Прочие нефинансовые активы                                                                   10,2

Итого активов                                                                                15,1

Средства банков                                                                              (5,6)
Прочие финансовые обязательства                                                              (0,2)
Прочие нефинансовые обязательства                                                            (2,1)
Итого обязательств                                                                           (7,9)
Справедливая стоимость чистых активов дочерних компаний                                       7,2

Расчет деловой репутации:
Цена приобретения                                                                            13,З
Неконтрольная доля участия по справедливой стоимости                                          3,4
Справедливая стоимость чистых активов дочерних компаний                                      (7,2)
Деловая репутация, полученная при приобретении                                                9,5




                                                                                                66
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Отдельные примечания к промежуточной сокращенной
консолидированной финансовой отчетности - 30 сентября 2013 года

31    События после отчетной даты

В октябре 2013 года зарегистрирован отчет об итогах дополнительного выпуска ценных бумаг ОАО « Красная
Поляна ». Согласно указанному документу в рамках проведенной дополнительной эмиссии было
размещено 18 342 акции номинальной стоимостью 50 ООО рублей каждая. Цена размещения одной акции
составила 755 тысяч рублей. Все акции были выкуплены Группой за 13,9 миллиардов рублей. В результате
эффективная доля владения данной дочерней компанией увеличилась до 92, 104%.

В октябре 2013 года Fitch Rat ings присвоило Sberbank E u rope AG дол госрочный рейтинг дефолта эмитента
« В В В-» со стабильным прогнозом. Рейтинги были присвоены Sberbank E u rope AG впервые. Наличие
рейтинга позволит Sberbank Eu rope AG развивать самостоятельный бизнес на международном рынке в
соответствии со стратегическими задачами и получить доступ к широкому кругу клиентов и контрагентов.

В ноябре 20 13 года Группа привлекла мультивалютный синдицированный кредит от консорциума
иностранных банков (рублевый эквивалент составил 32,7 миллиарда рублей на дату привлечения средств).
Кредит был получен двумя траншами в двух разных валютах: 0,3 миллиардов долларов США и
0,5 миллиардов Евро. Срок погашения данного кредита наступает в ноябре 2014 года, контрактная
плавающая процентная ставка по данному кредиту - LI BOR +0,75% годовых по траншу в долларах США и
E U R I BOR + 0,75% годовых по траншу в Евро.




                                                                                                      69
